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March 30, 2023

VIA Electronic Filing

Patricia S. Dodszuweit, Clerk
Office of the Clerk
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1790


       Re:         No. 22-1864, Consumer Financial Protection Bureau v. National Collegiate
                   Master Student Loan Trust, et al.
                   Response to CFPB’s Submission of Supplemental Authority

Dear Ms. Dodszuweit:

The Trusts write in response to the Bureau’s March 27 letter, directing this Court’s attention to
CFPB v. Law Offices of Crystal Moroney, P.C., 2023 WL 2604254 (Mar. 23, 2023) (“Moroney”).
Three features of Moroney make clear this Court can—and should—reach a different result in this
case.

First, Moroney expressly recognized the limits of Justice Alito’s majority opinion in Collins v.
Yellen, 141 S. Ct. 1761 (2021). As the Second Circuit observed, the Collins majority announced
no “definitive holding” regarding how to prove “harm” sufficient to justify retrospective relief
from an unlawful removal provision. Slip Op. at *3. Indeed, “courts have disagreed as to how
one could make such a showing” in Collins’ wake. Id. The Bureau overreaches, then, when it
suggests Moroney applied “Collins’s express remedial holding.” Ltr. at 2. The “but for” test the
Bureau urges is nowhere in the holding of Collins and is actually inconsistent with what the
majority did say. See Trusts’ Br. 62-63.

Second, the Bureau timely ratified its decision at issue in Moroney. See Slip Op. at *2. Not so
here. The Bureau intimates this distinction is irrelevant, but as the Trusts pointed out, the
traditional remedy for an enforcement action infected by an unlawful removal provision is
dismissal unless the agency validly ratifies. See Trusts’ Br. 45-49. The Bureau did so in Moroney,
yet despite every opportunity, failed to do so here.

Third, Moroney involved a CID—not an enforcement action. A CID, even one the agency sues to
enforce, inflicts a different injury than a direct enforcement action seeking monetary penalties.
See United States v. Arthrex, Inc., 141 S. Ct. 1970, 1997 (2021) (Breyer, J., concurring) (“any


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remedy” for Article II violations “should be tailored to the constitutional violation”); cf. CFPB v.
Seila Law LLC, 984 F.3d 715, 719 (9th Cir. 2020) (parties “may not defeat agency authority to
investigate” with defenses to “future enforcement action[s]”). Thus, even if this Court agrees with
the Second Circuit’s interpretation of Collins, it need not apply it here where the constitutional
injury is more acute.

                                              Respectfully submitted,

                                              /s/ Jonathan Y. Ellis

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cc:    All Counsel of Record
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2023, the foregoing was filed with the Clerk of the United

States Court of Appeals for the Third Circuit using the appellate CM/ECF System, which will also

serve counsel of record.


                                                     /s/ Jonathan Y. Ellis
                                                     Jonathan Y. Ellis
